      Appellate Case: 23-2166      Document: 95        Date Filed: 11/19/2024      Page: 1
                    UNITED STATES COURT OF APPEALS FOR THE TENTH CIRCUIT
                               Byron White United States Courthouse
                                         1823 Stout Street
                                     Denver, Colorado 80257
                                          (303) 844-3157
                                     Clerk@ca10.uscourts.gov
Christopher M. Wolpert                                                              Jane K. Castro
Clerk of Court                                                                  Chief Deputy Clerk
                                     November 19, 2024


Mr. Mitchell R. Elfers
United States District Court for the District of New Mexico
Office of the Clerk
333 Lomas N.W.
Albuquerque, NM 87102

RE:        23-2166, 23-2167, 23-2185,
           We the Patriots, et al v. Grisham, et al
           Dist/Ag docket: 1:23-CV-00773-DHU-LF

Dear Clerk:

Pursuant to Federal Rule of Appellate Procedure 41, the Tenth Circuit's mandate in the
above-referenced appeals issued today. The court's October 28, 2024 judgment takes
effect this date. With the issuance of this letter, jurisdiction is transferred back to the
lower court.

Please contact this office if you have questions.

                                              Sincerely,



                                              Christopher M. Wolpert
                                              Clerk of Court



cc:        Holly Agajanian
           Robert J. Aragon
           Barry K. Arrington
           Cameron Lee Atkinson
           Thomas Mark Bondy
           Jason Bowles
           Janet Carter
           Mark J. Caruso
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      Marcella Coburn
      Kyle P Duffy
      Jeremy M. Gay
      Jordon P. George
      Carina Bentata Gryting
      Freya Jamison
      Douglas Neal Letter
      Marc Lowry
      Robert Henry Moss
      Anthony Roman Napolitano
      Robert J. Olson
      Robert Hunter Owen
      Peter A. Patterson
      Kelly Marita Percival
      Cody R. Rogers
      Stephen Stamboulieh
      William James Taylor
      David H. Thompson
      Joseph Lee Woods



CMW/jm
